UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                       -against-                                    23-cr-10 (AS)
 AVRAHAM EISENBERG,
                                                                       ORDER
                                   Defendant.



ARUN SUBRAMANIAN, United States District Judge:

       At the close of the trial day on April 11, the parties should be prepared to address

their proposed instructions on the mixed-swap issue. In particular, the Court had the

following questions:

   1. Is it the Government’s position that MNGO is a security?

   2. If MNGO is a security, then what is the Government’s position as to what the other thing

       is that the swap may be found to be based on for purposes of the mixed-swap definition?

SO ORDERED.

Dated: April 11, 2024
       New York, New York



                                                             ARUN SUBRAMANIAN
                                                             United States District Judge
